This defendant was implicated in the same transaction as was the defendant in People v. Frencavage, 231 Mich. 242. They were jointly complained against, and the information against this defendant is in the same language as the information against Frencavage. In that case we held that the information was bad and for that reason reversed the judgment, but inasmuch as there was a good complaint and a waiver of examination we remanded the case for further proceedings not inconsistent with the opinion. This case is controlled by the opinion in that case and must take the same course. It is so conceded by the learned prosecuting attorney.
For the reason stated in the opinion in that case the judgment must be reversed and the case remanded for further proceedings not inconsistent with that opinion. Defendant will be remanded to the custody of the sheriff of Kent county.
McDONALD, C.J., and CLARK, BIRD, SHARPE, MOORE, STEERE, and WIEST, JJ., concurred.